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                                   7                                  UNITED STATES DISTRICT COURT

                                   8                                 NORTHERN DISTRICT OF CALIFORNIA

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                                        FRIENDS OF THE EARTH, et al.,
                                  10                                                        Case No. 17-cv-03592-RS
                                                       Plaintiffs,
                                  11
                                                v.                                          ORDER OVERRULING OBJECTIONS
                                  12                                                        TO NONDISPOSITIVE PRETRIAL
Northern District of California
 United States District Court




                                        SANDERSON FARMS, INC.,                              ORDER OF MAGISTRATE JUDGE
                                  13
                                                       Defendant.
                                  14

                                  15          Plaintiffs seek review of the assigned magistrate judge’s order compelling disclosure of the

                                  16   identities of writers and recipients of documents on the privilege log that were withheld on First

                                  17   Amendment grounds. A district court may modify a magistrate judge’s ruling on a nondispositive

                                  18   matter only if the order is “clearly erroneous” or “contrary to law.” 28 U.S.C. § 636(b)(1)(A);

                                  19   Fed. R. Civ. P. 72(a); Bahn v. NME Hospitals, Inc., 929 F.2d 1404, 1414 (9th Cir. 1991). Because

                                  20   defendants have shown no such error here, the objections are overruled.

                                  21          The magistrate judge’s careful explanation regarding the reasons for why Plaintiffs failed

                                  22   to make a prima facie showing of arguable first amendment infringement is not subject to any

                                  23   finding of clear error. The Ninth Circuit recognized in Brock that a prima facie showing requires

                                  24   “objective and articulable facts,” which go beyond mere “subjective fear of future reprisals . . . .”

                                  25   Brock v. Local 375, Plumbers Int’l Union of Am., 860 F.2d 346, 350 n.1 (9th Cir. 1988).

                                  26   Plaintiffs’ conclusory declarations show only the latter. Since the magistrate judge’s ruling on

                                  27   Plaintiffs’ failure to make a prima facie showing is not clearly erroneous, it is not necessary to

                                  28   consider Plaintiffs’ remaining objections to the magistrate judge’s order.
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                                   1   IT IS SO ORDERED.

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                                   3   Dated: November 27, 2018

                                   4                                        ______________________________________
                                                                            RICHARD SEEBORG
                                   5                                        United States District Judge
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Northern District of California
 United States District Court




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                                                                                                CASE NO. 17-cv-03592-RS
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